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                        IN THE UNITED STATE DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

     Southern Country Farms, Inc., a West
     Virginia Corporation, individually, and on
     behalf of all individuals and legal entities         Case No. 5:21-cv-84
     similarly situated,
                                                          Judge John Preston Bailey
                     Plaintiff,

     vs.

     THQ Appalachia I, LLC, EQT TGHL
     Holdings Midco, LLC, EQT TGHL
     Exploration, LLC, EQT TGHL Exploration
     II, LLC, Tug Hill Operating, LLC and
     Antinum Marcellus I, LLC,

                     Defendants.

                 CONDITIONAL OBJECTION TO PROPOSED SETTLEMENT

           NOW COMES, Ridgetop Royalties, LLC (“Ridgetop”), by and through its undersigned

   counsel, and hereby conditionally objects to the settlement proposed by the parties in this action

   pending clarification from the Court that Ridgetop’s claims in a case pending in the Circuit Court

   of Marshall County, West Virginia are not released thereby.

           The undersigned counsel hereby certifies that it has conferred with counsel for the Class

   Plaintiffs, who agree that the proposed settlement in this case does not release the claims asserted

   by Ridgetop in the State Court action and consent to the relief requested by Ridgetop herein.

   Additionally, counsel for the Class Plaintiffs advised that the Ridgetop litigation pending in the

   Circuit Court of Marshall County was not identified by the Defendants’ counsel as a related

   litigation. Therefore, counsel for the Class had no reason to even consider whether to attempt to

   create a special exception for Ridgetop in the settlement agreement, seek additional compensation

   for the class or for Ridgetop, or otherwise make provisions for any claim that even tangentially
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   relates to the circumstances Ridgetop appears to be addressing in its previously filed litigation with

   the Defendants. Further, counsel for the Class provided that the issue with Ridgetop as to whether

   the Lease was or was not expired was never raised as an issue, claim or defense in this case.

    I.    BACKGROUND

          On July 14, 2020, Ridgetop filed a lawsuit in the Circuit Court of Marshall County, West

   Virginia against defendants, EQT TGHL Exploration, LLC, EQT TGHL Exploration II, LLC, Tug

   Hill Operating, LLC (“Defendants”), which is styled Ridgetop Royalties, LLC v. EQT TGHL

   Exploration, LLC, et al., Case No. CC-25-2020-C-89 (the “Ridgetop Lawsuit”).

          In the Ridgetop Lawsuit, Ridgetop seeks a declaratory judgment and damages for

   Defendants’ trespass, conversion, and slander of title (“Ridgetop’s Claims”). (Ridgetop Lawsuit,

   Compl. attached hereto as Ex. A). More specifically, Ridgetop seeks a declaration from the Circuit

   Court that an oil and gas lease between Ridgetop’s predecessor in title, DWG Oil and Gas

   Acquisitions, LLC, as lessor, and Gastar Exploration USA, Inc. (“Gastar”), as lessee, with an

   effective date of January 21, 2014 (the “Lease”), expired and is no further force and effect. Id.

   Ridgetop maintains that the Lease expired upon the expiration of the primary term on January 21,

   2019, due to the uncontested fact that there was no production of oil or gas or other substances

   covered by the Lease in paying quantities from the lease premises or from lands pooled with the

   lease premises at that time. Id. Ridgetop’s tort claims are based upon Defendants’ continued

   production of Ridgetop’s oil and gas following the expiration of the Lease. Id.

          By Order dated October 20, 2020, the Circuit Court permitted Ridgetop to deposit the funds

   Defendants tendered to Ridgetop as “royalties” into the Registry of the Circuit Court until such

   time as it is determined in that action whether such funds are “royalties” rightfully payable to

   Ridgetop under the Lease as argued by Defendants, or an advanced payment of “damages” for




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   Defendants’ illegal and unauthorized production of Ridgetop’s oil and gas. (Ridgetop Lawsuit,

   Order Granting Pl.’s Mot. to Deposit Funds in Court Registry, Ex. B) (“Order to Deposit”). The

   Order to Deposit also ordered the Defendants to “pay any future royalties for the oil and gas

   produced from the wells subject to this action directly into the registry of the Court.” Id.

          Almost a year after the commencement of the Ridgetop Lawsuit, on June 3, 2021, Southern

   Country Farms, Inc., initiated this class action against Defendants, and others, seeking recovery

   for underpayment of royalties. (Southern Country Farms, Inc. v. TH Appalachia I, LLC, et al.,

   Case No. 5:21-cv-84, Complaint, ECF 1 (N.D.W.Va.)). The plaintiff in this case claims that the

   Defendants were reducing royalty payments through the use of improper post-production

   deductions contrary to the applicable lease language and West Virginia law and not paying

   royalties on 100% of the NGLs produced from hundreds of leases covering property in Marshall

   County, West Virginia wherein Gastar was the lessee (the “Class Leases”). (Memo. in Supp. of

   Settlement Agreement, ECF 377).

        On March 23, 2023, this Court certified the following class:

          All current lessors, who own a royalty interest, or a right to a royalty interest, in
          or to an oil and gas mineral lease, in which any of the defendants ever owned an
          interest, covering property located in West Virginia with royalty clauses providing
          in substance the following royalties:

          (a) on oil (including but not limited to distillate and condensate) One eighth (1/8)
          of that produced and saved from the lease premises, the same to be delivered at the
          wells or to the credit of Lessor in the pipeline to which the wells may be connected,
          provided; however, Lessee, at its option, may from time to time purchase the
          royalty oil, paying not less than the price prevailing in the pricing area for oil of
          like grade and gravity at the time of delivery;

          b) on gas, including casinghead gas and all other gaseous or vaporous substances,
          produced from the Land and sold or used off the lease premises or in the
          manufacture of gasoline or in the extractions of sulphur or any other product, the
          market value at the wells of One-eight (1/8) of the gas sold or used, with the market
          value at the wells in no event to exceed the net proceeds received by Lessee
          calculated or allocated back to the wells from which produced, making allowance


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          and deduction for a fair and reasonable charge for gathering, compressing, and
          making the gas merchantable,...

          The following are EXCLUDED from the class:

          (a) The members, officers, directors, and/or legal representatives of any Defendant
          and their immediate family;

          (b) Any entity which is majority owned or otherwise controlled by a member,
          officer, director and/or legal representative of any Defendant and/or their
          immediate family;

          (c) Any judge or judicial personnel assigned to this case and their immediate family.

   (the “Class”). ([Second] Order Certifying Class, ECF 153) (emphasis added).

          While the Lease at issue in the Ridgetop Lawsuit may have qualified as a Class Lease,

   Ridgetop maintains that it is not a member of the Class because Ridgetop is not a “current lessor”

   since the Lease expired on January 21, 2019. Ridgetop also believes and maintains that the release

   contained in the proposed Settlement Agreement does not preclude Ridgetop’s claims in the

   Ridgetop Lawsuit.

          Yet, Defendants maintain that Ridgetop is a member of the Class and that Ridgetop’s

   claims in the Ridgetop Lawsuit are barred by the doctrines of res judicata and judicial estoppel

   due to the proposed settlement in this case. (Ridgetop Lawsuit, Brief in Supp. Of Def.’ Am. Mot.

   For Summ. J., excerpt attached hereto as Ex. C, at 16-19).

          Ridgetop does not seek a determination from this Court on whether Ridgetop is a “current

   lessor” and thus a member of the Class. The decision of whether the Lease expired is the subject

   of the Ridgetop Lawsuit and should be determined by the Circuit Court of Marshall County.

   Instead, Ridgetop respectfully files this conditional objection for the purpose of obtaining

   clarification from this Court that Ridgetop’s Claims in the Ridgetop Lawsuit are not released and

   remain unaffected by the proposed settlement in this case. If the release extends to Ridgetop’s




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   Claims, then the settlement is unfair, inadequate, unreasonable, and violates Ridgetop’s due-

   process rights for the reasons set forth herein below.

    II.   LAW AND ARGUMENT

          A. Ridgetop’s Claims are not released by the proposed settlement in this case.

          On November 13, 2023, this Court preliminarily approved a proposed settlement which

   would finally resolve all outstanding claims and issues in this case, and result in the voluntary

   dismissal, with prejudice, of this action. (Judgment on Plaintiffs’ Motion for Prelim. Approval of

   Class Settlement, ECF 361). Under the Settlement Agreement, the Class is entitled to receive up

   to $21 million in total compensation, allocated among Class Members in accordance with a Plan

   of Allocation to be submitted and approved by this Court. (Settlement Agreement, ECF 377-4, at

   22).

          In exchange for the settlement payments, Class Members “will release Defendants from

   claims for unpaid royalties due for production from the Class leases during the period up to and

   through November 30, 2023.” (Memo. in Supp. of Settlement Agreement, ECF 377, at 10).

   Specifically, the Settlement Agreement defines “Released Claims” as follows:

          “Released Claims” include all claims that the Settlement Class may have against
          the Released Parties for any and all royalties owed to the Class for production from
          the Class Leases in accordance with the terms of the Class Leases for the period up
          to and through, and only through, November 30, 2023. Released Claims includes
          any and all causes of action, choses in action, demands, debts, obligations, duties,
          liens, liabilities, and theories of liability and recovery of whatsoever kind and
          nature, whether based in contract or tort, whether arising in equity or under the
          common law, whether by statute or regulation, whether known or unknown,
          whether asserted by the Settlement Class in the past, present, or future, and whether
          contingent, prospective, or matured, whether for actual or punitive damages relief,
          interest, injunctive relief, declaratory relief, equitable relief, or any other type of
          relief, that are, were, or could have been asserted in the Litigation. Released Claims
          do not include (i) claims, except those claims for underpayment released herein,
          regarding entitlement to money held in suspense by the EQT Defendants; (b) claims
          regarding the calculation of a Settlement Class Members’ decimal interest in any
          unit that contains a Class Lease; (c) title disputes related to a Settlement Class



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          Members’ ownership interest in a Class Lease; or (d) claims regarding surface or
          crop damage.

          (Settlement Agreement, ECF 377-4, at 12).

          Ridgetop’s Claims asserted in the Ridgetop Lawsuit do not include claims for royalties

   owed to it for production from the Lease. Rather, Ridgetop seeks a determination that the Lease

   expired and that damages are due to it from Defendants’ tortious conduct following the expiration

   of the Lease. Ridgetop’s Claims could also not have been asserted in this case. Ridgetop’s claims

   not only differ factually but arise from different events and courses of conduct that gave rise to the

   claims of the other class members, and are based upon different legal theories. (See [First] Order

   Certifying the Class, ECF 140, at 16) (describing the typicality requirement of Fed. R. Civ. P. 23).

          Counsel for the Class Plaintiffs do not believe that the release covers Ridgetop’s Claims.

   Defendants also apparently did not previously believe that Ridgetop’s Claims would be affected

   by this litigation since Defendants failed to make this Court aware of the Ridgetop Lawsuit. (Id.,

   ECF 140, at 26) (finding the existence of other related litigation under Fed. R. Civ. P. 23(b)(3)(B)

   a non-factor “since this Court has been made aware of no other lawsuits against the defendants

   concerning this issue.”)

          It is clear that neither party intended for the release contained within the Settlement

   Agreement to be interpreted so broadly to include tort claims based upon an entirely different set

   of facts and legal theories that were previously pending in Circuit Court upon the commencement

   of this action. However, Defendants now appear to intend on using this Settlement Agreement as

   a mechanism to preclude any prior and future claims arising from the Class Leases, regardless of

   whether such claims are related to this action. The Settlement Agreement is not a blanket

   ratification of the Lease and it should not be construed to be one.




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          B. If the release extends to Ridgetop’s Claims, then the settlement is unfair,
             inadequate, unreasonable, and violates Ridgetop’s due-process rights.

          If the proposed settlement were to release Ridgetop’s Claims, then the value that the

   proposed settlement provides is inadequate. Courts evaluating class-action settlements must find

   that the benefits to class members is commensurate with the scale of the litigation and the plaintiffs'

   chances of success at trial. 1988 Trust for Allen Children Dated 8/8/88 v. Banner Life Insurance

   Company, 28 F.4th 513, 527 (C.A.4 (Md.), 2022). The value of Ridgetop’s Claims in the Ridgetop

   Lawsuit vastly exceeds the value of the settlement relief it may obtain from this case. If Ridgetop

   is successful in establishing its tort claims in the Ridgetop Lawsuit, Defendants could be liable to

   Ridgetop in excess of $10 million. However, Ridgetop stands to gain a mere $8,606.83 as a

   settlement payment in this case. See “Benefit Notice to the Settlement Class Participants” attached

   hereto as Ex. D. The settlement provides no compensation for the release of Ridgetop’s Claims.

   Nor was any discovery was conducted in this case about the scope or value of Ridgetop’s Claims.

   That serves to confirm that the release does not extend to Ridgetop’s Claims. If it did, approving

   the settlement would be error.

          Additionally, if the proposed settlement’s release were read to affect Ridgetop’s Claims,

   the named plaintiff would not be an adequate representative of Ridgetop. “To be adequate, the

   named representatives ‘must be part of the class and possess the same interest and suffer the same

   injury as the class members.’” 1988 Trust, 28 F.4th at 528 (quoting Amchem Prods., Inc. v.

   Windsor, 521 U.S. 591, 625–626, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997); Davis v. J.P. Morgan

   Chase & Co., 827 F. Supp. 2d 172, 181 (W.D.N.Y. 2011) (citing Nat'l Super Spuds, Inc. v. New

   York Mercantile Exch., 660 F.2d 9, 19 (2d Cir. 1981))( “[S]ettling class members generally cannot

   validly release other class members’ claims that they themselves do not possess, for no

   consideration.”) The causes of action asserted by named plaintiff relate to Defendants’ improper



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   reductions of royalty payments from existing leases. Ridgetop’s claims relate to the fact that the

   Lease expired prior to any production, which is entirely unique from the named plaintiff and every

   other member of the Class. Therefore, if the release is interpreted to include Ridgetop’s Claims,

   the class representatives are inadequate and the proposed settlement should be rejected. Id.

          Finally, nothing in the notice, Settlement Agreement, motion for approval, or this Court’s

   preliminary approval order would alert Ridgetop that it may be foregoing its claims pending in the

   Circuit Court of Marshall County if it does not opt out. See generally ECF 199-1, 377-4, 376, 377

   and 361. This fact also confirms the proposed settlement does not release Ridgetop’s Claims. As

   the Third Circuit held more than a decade ago, absent class members “can hardly knowingly waive

   some of their . . . rights without a clear notice of what they are waiving.” In re Diet Drugs

   (Phentermine/Fenfluramine/Dexfenfluramine) Prods. Liab. Litig., 369 F.3d 293, 308 (3d Cir.

   2004). Thus, if Ridgetop’s claims are included in the settlement’s release, the notice does not “pass

   constitutional muster.” In re Cendant Corp. Sec. Litig., 109 F. Supp. 2d 273, 281 (D.N.J. 2000),

   aff’d 264 F.3d 286 (3d Cir. 2001).

          For these reasons, the release does not affect Ridgetop’s Claims pending in the Ridgetop

   Lawsuit. But if it were nonetheless construed to do so, due process, Rule 23, and decades of

   caselaw would dictate that the proposed settlement should not be approved.

          C. Any settlement payment due to Ridgetop from the class settlement should be
             deposited in the Registry of the Circuit Court of Marshall County pursuant to the
             Court’s Order to Deposit.

          On October 20, 2020, the Circuit Court entered the Order to Deposit which ordered that

   all royalties payable under the Lease be deposited into the Registry of the Court. Ex. B. The

   settlement payment in this case constitutes payment of royalties owed to the Class for production

   from the Class Leases that were wrongfully withheld by Defendants through November 30, 2023.




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   (Settlement Agreement, ECF 356-1). Therefore, any settlement payment should be deposited into

   the Registry of the Circuit Court of Marshall County have been Ordered to be deposited, until such

   time the Circuit Court determines whether the Lease expired.

          Provided that this Court determines that Ridgetop’s Claims are not released by the

   Settlement Agreement, and in the unlikely event that the Circuit Court finds in the Ridgetop

   Lawsuit that the Lease did not expire and thus Ridgetop is a member of the Class, Ridgetop

   believes that the proposed settlement is fair and reasonable

          WHEREFORE, Ridgetop Royalties, LLC, prays that this Honorable Court enter an Order

   confirming that Ridgetop’s Claims are not released by the proposed settlement in this action;

   directing the Settlement Claims Administrator, Thomas Pratt and Schnieder Downs & Co., Inc. to

   deposit any settlement payment due to Ridgetop into the Registry of the Circuit Court of Marshall

   County, West Virginia pursuant to the Circuit Court’s Order to Deposit; and granting such other

   and further relief as the Court deems meet and proper.

                                                            Respectfully submitted,

                                                            RIDGETOP ROYALTIES, LLC


                                                            By:
                                                                   Counsel

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                      IN THE UNITED STATE DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

   Southern Country Farms, Inc., a West
   Virginia Corporation, individually, and on
   behalf of all individuals and legal entities          Case No. 5:21-cv-;84
   similarly situated,
                                                         Judge John Preston Bailey
                   Plaintiff,

   vs.

   THQ Appalachia I, LLC, EQT TGHL
   Holdings Midco, LLC, EQT TGHL
   Exploration, LLC, EQT TGHL Exploration
   II, LLC, Tug Hill Operating, LLC and
   Antinum Marcellus I, LLC,

                   Defendants.

                                   CERTIFICATE OF SERVICE

         Service of the foregoing Conditional Objection to Proposed Settlement was served upon
 all counsel parties by CM/ECF service on this 22nd day of January 2024.
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